                   IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:12 CR 98


UNITED STATES OF AMERICA,                      )
                                               )
      Plaintiff                                )
                                               )
      V                                        )           ORDER
                                               )
ISRAEL AVELLANEDA-ALVIAR,                      )
                                               )
      Defendant.                               )



      THIS MATTER is before the court on Lee Atkins’ Application for Admission

to Practice Pro Hac Vice of Matthew J. Kappel. It appearing that Matthew J. Kappel

is a member in good standing with the South Carolina State Bar and will be appearing

with Lee Atkins, a member in good standing with the Bar of this court, that all

admission fees have been paid, and that the email address of the attorney seeking

admission has been provided, the court enters the following Order.

                                   ORDER

      IT IS, THEREFORE, ORDERED that Lee Atkins’ Application for

Admission to Practice Pro Hac Vice (#14) of Matthew J. Kappel is GRANTED, and

that Matthew J. Kappel is ADMITTED to practice, pro hac vice, before the Bar of

this court while associated with Lee Atkins.




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                                Signed: October 18, 2012




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